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 5
     Attorney for Defendant
 6   JESSIEL FELIX-RAMIREZ
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                    Case No. 1:18-cr-00199-LJO-BAM
12                   Plaintiff,                    STIPULATION TO VACATE MOTION
                                                   BRIEFING SCHEDULE AND MOTION
13           vs.                                   HEARING AND TO SET FOR STATUS
                                                   CONFERENCE; ORDER
14    ELADIO FELIX-LEON and JESSIEL
      FELIX-RAMIREZ,
15                                                 DATE: May 13, 2019
                     Defendants.                   TIME: 1:00 p.m.
16                                                 JUDGE: Hon. Barbara A. McAuliffe
17
18          IT IS HEREBY STIPULATED, by and between the parties, through their respective
19   counsel, Assistant United States Attorney Kathleen Servatius, counsel for plaintiff, Roger
20   Bonakdar, counsel for defendant Eladio Felix-Leon, and Assistant Federal Defender Erin Snider,
21   counsel for defendant Jessiel Felix-Ramirez, that the motion briefing schedule and motion
22   hearing scheduled for May 20, 2019, at 8:30 a.m. be vacated and that the Court set this matter for
23   a status conference on May 20, 2019, at 1:00 p.m.
24          On September 5, 2018, the government provided approximately 87 pages of discovery
25   materials. On January 29, 2019, counsel for Mr. Felix-Leon and counsel for Mr. Felix-Ramirez
26   requested a motion briefing schedule for a motion to suppress and the Court set a motion hearing
27   for May 28, 2019, at 10:00 a.m. before the Honorable Dale A. Drozd.
28          On March 1, 2019, the government filed a Notice of Related Case, advising that the
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 1   instant matter is related to Eastern District of California Case No. 1:19-cr-00007-DAD and that
 2   the underlying investigation involved wire interceptions authorized by the Honorable Lawrence
 3   J. O’Neill. On March 6, 2019, the instant matter was reassigned to the Honorable Lawrence J.
 4   O’Neill and, on March 8, 2019, the Court entered a minute order advancing the motion hearing
 5   to May 20, 2019, at 8:30 a.m.
 6           Following the government’s filing of the Notice of Related Case, defense counsel has
 7   received voluminous supplemental discovery. On March 7, 2019, defense counsel received over
 8   3,000 Bates-stamped pages related to Case No. 1:19-cr-00007-DAD and, on March 13, 2019, the
 9   government advised that an additional nine discs, including wiretap data and telephone tolls, is
10   available at the defense’s expense at Maximus Media. Defense counsel is in the process of
11   obtaining the additional materials at Maximus Media.
12           In light of the voluminous supplemental discovery, both counsel for Mr. Felix-Leon and
13   counsel for Mr. Felix-Ramirez require additional time to review discovery and assess whether to
14   file a motion to suppress. The parties agree that, pursuant to 18 U.S.C. § 3161(h)(7)(A), time
15   should be excluded through May 20, 2019, because there is good cause for the requested
16   continuance and the ends of justice outweigh the interest of the public and the defendant in a
17   speedy trial. Specifically, the parties agree that this continuance is necessary to permit time for
18   the defense to continue its investigation and preparation.
19
20                                                 Respectfully submitted,
21                                                 MCGREGOR W. SCOTT
                                                   United States Attorney
22
23   Date: March 26, 2019                          /s/ Kathleen Servatius
                                                   KATHLEEN SERVATIUS
24                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
25
26   Date: March 26, 2019                          /s/ Roger Bonakdar
                                                   ROGER BONAKDAR
27                                                 Attorney for Defendant
                                                   ELADIO FELIX-LEON
28

     Felix-Ramirez: Stipulation
     and Proposed Order
                                                       2
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 1                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
 2
     Date: March 26, 2019                          /s/ Erin Snider
 3                                                 ERIN SNIDER
                                                   Assistant Federal Defender
 4                                                 Attorney for Defendant
 5                                                 JESSIEL FELIX-RAMIREZ

 6
                                                 ORDER
 7
 8           IT IS HEREBY ORDERED that the motion briefing schedule and motion hearing set

 9   for May 28, 2019, at 8:30 a.m. is vacated and the matter is set for a status conference before the

10   Honorable Barbara A. McAuliffe on May 13, 2019, at 1:00 p.m. The Court finds that there is

11   good cause for the continuance and the ends of justice outweigh the interest of the public and the

12   defendant in a speedy trial. Time is therefore excluded through May 13, 2019 under the Speedy

13   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A).

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     IT IS SO ORDERED.
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16       Dated:      March 28, 2019                           /s/ Barbara A. McAuliffe               _
                                                          UNITED STATES MAGISTRATE JUDGE
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     Felix-Ramirez: Stipulation
     and Proposed Order
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